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                          EXHIBIT

                                      A
            Case:
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     Re: Hogan

     From: Paul De Marco (demarcoworld@yahoo.com)

     To:      tonycicero@gocicero.com; bill@klausmanlawltd.com

     Date: Wednesday, September 20, 2023 at 03:29 PM EDT



     Hi Tony and Bill,

     You can always reach me on my cellphone (see below). Mailing me flash drives is
     fine. Please note my firm's address changed a while back to 119 East Court Street,
     Suite 530, Cincinnati, OH, 45202.

     We're eager to receive what the Court ordered your clients to produce to us in both
     the August 2 order and the September 6 order. So far, as you know, we have
     received nothing from your clients in response to those two orders. The August 2
     order set a deadline of September 1, and the September 6 order set a deadline of
     today, September 20. Because these were court-ordered deadlines, we're
     uncomfortable granting extensions on our own, so you will need to move for any
     extensions you need to fulfill these orders. Given that the information your clients
     need to comply with the September 6 order should be contained in the clubs' Lease
     Agreements, we think 21 additional days is excessive. Our position (which would be
     contained in our response to your motions) is that we believe 21 days in addition to
     the 14 days already allowed is excessive but that if you each ask for an additional 14
     days to comply with the September 6 order, plaintiffs would not object to the 14-day
     extension as long as we receive the required lists by the extended deadline (as
     opposed to being given reasons why your clients cannot or should not have to
     produce them) and as long as we receive by the same deadline the documents that
     the Court ordered your clients to produce by September 1.

     Thanks, Tony and Bill.

     Paul

     Paul M. De Marco
     ph. 513-470-0369
     demarcoworld@yahoo.com


       On Wednesday, September 20, 2023 at 12:13:30 PM EDT, Tony Cicero <tonycicero@gocicero.com> wrote:


       Paul,

       I'm copying in Bill because he and I have discussed filing objections to the 10/6
       decision. I do not think we will, but we need additional time to comply with the
       Magistrate's Order. Are you OK with 21 days? I'm not sure that will be enough, but

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       it's a good start. Bill needs time to look to see if he has email addresses, I need to do
       that with some of my clients, and also need time to put together complete lists for the
       clubs that have email addresses. I have a list done for Cheeks from the data I have,
       but it doesn't cover the entire time period.

       In regard to the Judge's Order from 8/2, I will give you what I have redacted from
       Cheeks, which is everything I previously told you about. I should know soon if they
       have more, but I do not know about the other clubs yet. In re Cheeks, do you want to
       share a folder out to me in Dropbox? or some other online service? I was going to
       share a SharePoint folder with you but I don't want to put that much info on our
       server. Or, I can copy to flash drives and mail.

       I tried calling you to discuss but could not get through on your office phone number.
       Do you have another good contact #?

       Thanks and let me know.

       --
       Anthony R. Cicero
       500 East Fifth Street
       Dayton, Ohio 45402
       (937) 424-5390 phone
       (937) 424-5393 fax
       www.gocicero.com




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